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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LORI HEIM,                                         )
                                                   )
               Plaintiff,                          )
                                                   )           No. 18-cv-07962
       v.                                          )
                                                   )           Judge Andrea R. Wood
COMCAST CABLE COMMUNICATIONS                       )
LLC, et al.,                                       )
                                                   )
               Defendants.                         )

                                               ORDER

        Defendant Comcast Cable Communications, LLC’s motion to dismiss [44] is granted.
Plaintiff’s First Amended Complaint is dismissed without prejudice. Plaintiff is granted leave to
file a Second Amended Complaint that remedies the deficiencies discussed herein, if she is able to
do so, by 6/22/2020. If Plaintiff fails to file a Second Amended Complaint by 6/22/2020, this case
will be dismissed with prejudice and final judgment entered in favor of Defendant. Status hearing
set for 6/3/2020 [77] is stricken. See the accompanying Statement for details.

                                           STATEMENT

        An imposter using Plaintiff Lori Heim’s name and social security number fraudulently
opened up an account for cable service at a Chicago address with Defendant Comcast Cable
Communications, LLC (“Comcast”). As part of its normal procedure, Comcast obtained a credit
report on Heim before opening the account. Several months later, the fraudulent account was
closed with an unpaid balance. Shortly thereafter, Comcast again obtained Heim’s credit report.
As a result, Heim has brought the present action alleging that Comcast violated the Fair Credit
Reporting Act (“FCRA”), 15 U.S.C. § 1681b(f), and the Illinois Consumer Fraud and Deceptive
Business Practices Act (“ICFA”), 815 ILCS 505/1 et seq., by accessing her credit report without
an authorized purpose.1 Now, Comcast moves to dismiss the First Amended Complaint (“FAC”)
pursuant to Federal Rule of Civil Procedure 12(b)(6). (Dkt. No. 44.) For the reasons that follow,
Comcast’s motion is granted.

                                                   I.

        For the purposes of the motion to dismiss, the Court accepts all well-pleaded facts in the
FAC as true and views the facts in the light most favorable to Heim as the non-moving party.
Killingsworth v. HSBC Bank Nev., N.A., 507 F.3d 614, 618 (7th Cir. 2007).

1
 Heim’s FAC asserts several other claims against two additional defendants. Those defendants, however,
have been voluntarily dismissed from the action. (Dkt. Nos. 53–54.)
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         As alleged, Heim is a longtime Florida resident. (FAC ¶¶ 4, 19, Dkt. No. 41.) On
September 1, 2017, an imposter using Heim’s name and social security number sought to open an
account with Comcast for cable service at a Chicago address. (Id. ¶¶ 16–17.) Under its normal
procedure, Comcast does not require an in-person verification of a new customer’s identity. (Id.
¶ 13.) Instead, before opening an account, Comcast uses the customer’s social security number to
obtain a credit report. (Id. ¶ 14.) Comcast’s stated purpose for obtaining a customer’s credit report
is to prevent identity theft. (Id. ¶ 15.) In keeping with this procedure, Comcast obtained Heim’s
credit report before opening the account in her name. (Id. ¶ 18.)

        Despite the fact that Heim has never lived in Illinois and her credit report listed a Florida
address as her residence, Comcast proceeded to open the account in Heim’s name. (Id. ¶¶ 19–21.)
Several months later, Comcast deactivated the account leaving it with an unpaid balance of $637.
(Id. ¶ 22.) On March 15, 2018, Comcast again obtained Heim’s credit report to conduct a review
of her credit history. (Id. ¶ 23.) Following its review, Comcast assigned Heim’s unpaid debt to a
debt collector. (Id. ¶ 24.)

        Heim remained unaware that a Comcast account had been opened in her name until June
8, 2018, when she received a credit-monitoring alert that debt-collection activity had been
initiated against her. (Id. ¶ 25.) Heim then had to expend considerable time and effort to dispute
the debt, put a stop to the collection effort, and restore her credit rating. (Id. ¶¶ 44–49.)

                                                 II.

        To survive a Rule 12(b)(6) motion, “a complaint must contain sufficient factual matter,
accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556
U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This
pleading standard does not necessarily require a complaint to contain detailed factual allegations.
Twombly, 550 U.S. at 555. Rather, “[a] claim has facial plausibility when the plaintiff pleads
factual content that allows the court to draw the reasonable inference that the defendant is liable
for the misconduct alleged.” Adams v. City of Indianapolis, 742 F.3d 720, 728 (7th Cir. 2014)
(quoting Iqbal, 556 U.S. at 678).

                                                 A.

        According to Heim, Comcast violated the FCRA when it twice obtained her credit report
without her authorization. Under the FCRA, 15 U.S.C. § 1681b(f), a non-consumer reporting
agency is prohibited from using or obtaining a credit report for an impermissible purpose. Novak
v. Experian Info. Sols., Inc., 782 F. Supp. 2d 617, 621 (N.D. Ill. 2011). Any person who uses or
accesses a credit report for an impermissible purpose may be liable for actual damages if they
acted negligently, 15 U.S.C. § 1681o, or for punitive damages if they acted willfully, id. § 1681n.
See Novak, 782 F. Supp. 2d at 621. The FCRA lists several permissible purposes for which a
person may obtain a credit report. 15 U.S.C. § 1681b(a)(3); Pappas v. City of Calumet City, 9 F.
Supp. 2d 943, 949 (N.D. Ill. 1998). Among those permissible purposes is where the user has a
“legitimate business need for the information . . . in connection with a business transaction that is
initiated by the consumer; or . . . to review an account to determine whether the consumer
continues to meet the terms of the account.” 15 U.S.C. § 1681b(a)(3)(F)(i)–(ii). Each of the listed



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permissible purposes should be broadly construed. Minter v. AAA Cook Cty. Consolidation, Inc.,
No. 02 C 8698, 2004 WL 1630781, at *4 (N.D. Ill. July 19, 2004) (citing Ippolito v. WNS, 864
F.2d 440, 451 n.11 (7th Cir. 1988)).

        Heim first contends that Comcast did not have a permissible purpose for obtaining her
credit report before opening an account in her name. In response, Comcast argues that it had a
legitimate business need for Heim’s credit history because its request was necessary as a security
measure and to prevent identity theft. There is no question that when the unidentified person used
Heim’s name and social security number to request cable service, that person initiated a business
transaction with Comcast within the meaning of 15 U.S.C. § 1681b(a)(3)(F)(i). See Santangelo v.
Comcast Corp., No. 15-cv-0293, 2015 WL 3421156, at *4 (N.D. Ill. May 28, 2015). Moreover, a
service provider like Comcast has a legitimate business need “in confirming that prospective
consumers are who they claim to be and are eligible for services.” Bickley v. Dish Network, LLC,
751 F.3d 724, 731 (6th Cir. 2014). Nothing in the FAC suggests that, prior to its receipt of Heim’s
credit report, Comcast had reason to believe that the person seeking to open an account in Heim’s
name was not, in fact, Heim. See Shostack v. Diller, No. 15-CV-2255 (GBD)(JLC), 2015 WL
5535808, at *10 (S.D.N.Y. Sept. 16, 2015) (“[T]here is nothing in the FCRA that imposes an
affirmative duty on [the defendant] to call [the plaintiff] before running his credit report to verify
that the information it received online was valid.” (internal quotation marks and alterations
omitted)). Thus, Comcast had a permissible purpose for its first request for Heim’s credit report
because it reasonably believed that she was initiating a business transaction with it and had a
legitimate business need to confirm her identity.

        While Heim alleges in the FAC that Comcast represented to customers that it requested
credit reports to prevent identity theft, she argues in her opposition to the motion to dismiss that
because Comcast did not actually take any steps to verify her identity, Comcast’s stated purpose
should not be credited as a permissible purpose. Essentially, Heim claims that Comcast’s failure
to prevent an imposter from opening an account in her name—even after her credit report
revealed that she did not live in Illinois—demonstrates that Comcast’s purpose of preventing
identity theft was a pretext. But Hein is attempting to impugn Comcast’s motives for obtaining
her credit report based on information that was only known to Comcast after it received that
report. Confirming Heim’s identity was the purpose of the initial credit check and, as discussed
above, supplied a permissible purpose for acquiring her credit report. This is so even when a
creditor, such as Comcast, “obtains a credit report due to an imposter’s application for credit even
though the identity theft victim did not make the application.” Glanton v. DirecTV, 172 F. Supp.
3d 890, 896 (D.S.C. 2016) (listing cases);2 see also Randall v. Dish Network, LLC, No. 2:17-cv-
05428 (ADS)(GRB), 2018 WL 3235543, at *3 (E.D.N.Y. 2018) (“While [obtaining a credit
report] seems to have failed to prevent the identity thief in this particular circumstance from
opening the account, this failure should not be confused for an indication that the report was
obtained under false pretenses.”).


2
 The cases cited in Glanton include Daniel v. Bluestem Brands, Inc., No. 13-11714, 2014 WL 81763, at
*5 (E.D. Mich. Jan. 9, 2014); Bickley v. DISH Network, LLC, No. 3:10-CV-00678-H, 2012 WL 5397754,
at *5 (W.D. Ky. Nov. 2, 2012); and Ewing v. Wells Fargo Bank, No. CV11-8194-PCT-JAT, 2012 WL
1844807, at *4 (D. Ariz. May 21, 2012).



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        Heim claims that the second time Comcast accessed her credit report, it should have been
alerted by the first credit report that an imposter had opened the account in her name. But at the
time Comcast sought the second credit report, the account in Heim’s name had been deactivated
after accruing a $637 unpaid balance. Given the outstanding debt, Comcast had a legitimate
business need to obtain Heim’s credit history to determine whether the amount due would be paid.
See, e.g., Pappas, 9 F. Supp. 2d at 949–50 (“[W]hen one party may be subject to a monetary loss,
that party may perform a credit check to ensure that the debt will be paid.”); Allen v. Kirkland &
Ellis, No. 91 C 8271, 1992 WL 206285, at *2 (N.D. Ill. Aug. 17, 1992) (“[T]he collection of
allegedly unpaid accounts constitutes ‘a legitimate business need’ within the meaning of the
statute.”); see also Geiling v. Wirt Fin. Servs., Inc., No. 14-11027, 2014 WL 8473822, at *18
(E.D. Mich. Dec. 31, 2014) (“[A] creditor has a permissible purpose to pull a credit report if it
reasonably believes that the consumer had defaulted on the credit account, even when it later
learns that the consumer did not even own the account.”). Moreover, at the time Comcast
performed the second credit check, Heim had not learned that an account had been fraudulently
opened in her name and had not alerted anybody to that fact.

         Nonetheless, Heim claims that Comcast had reason to believe that the account opened in
her name was fraudulent based on information in the first credit report. Specifically, Heim asserts
that the fact that her first credit report listed a Florida address as her residence should have tipped
off Comcast that it was not Heim who had opened the account. However, the Court does not find
it reasonable to infer that Heim’s Florida address, by itself, should have alerted Comcast to the
fraud. Heim provides no authority for the proposition that an apparent address discrepancy in a
credit report requires the user to investigate for potential identity theft. Indeed, it is equally
plausible that the address discrepancy was caused because the potential customer recently moved
to Chicago, in which case, getting cable or internet set up would likely have been an early
priority. Or perhaps the customer opened up the account for a child or other relative. Moreover,
credit reports contain explicit signifiers of identity theft or fraud. For example, the FCRA includes
a provision that requires consumer reporting agencies to place a fraud alert in the files of any
consumer who believes that they have been the victim of identity theft. 15 U.S.C. § 1681c-1. The
existence of a fraud alert in a consumer’s file alerts the user of the credit report, such as Comcast,
that it must take additional steps to verify the consumer’s identity before opening new credit
accounts or modifying existing accounts in the consumer’s name. Id. § 1681c-1(h). The existence
of such a fraud alert is the primary way of alerting a user of a credit report to the possibility of
identity theft. See Bickley, 751 F.3d at 732. There is no allegation that such a fraud alert had been
placed on Heim’s account.

       In short, the FAC’s allegations support Comcast’s claim that it had a legitimate business
necessity for twice accessing Heim’s credit report. For that reason, the FCRA claim is dismissed.

                                                  B.

        Heim also alleges that Comcast violated the ICFA by accessing potential customers’ credit
reports for the purpose of identity-theft detection but then failing to use the information in those
reports to conduct an adequate investigation. However, the Illinois Supreme Court has “severely
limited the extraterritorial reach of the ICFA.” Crichton v. Golden Rule Ins. Co., 576 F.3d 392,
396 (7th Cir. 2009) (citing Avery v. State Farm Mut. Auto. Ins. Co., 835 N.E.2d 801 (Ill. 2005)).



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Thus, a plaintiff who is not an Illinois resident only has standing to pursue a claim under the ICFA
“if the circumstances that relate to the disputed transaction occur primarily and substantially in
Illinois.” Avery, 835 N.E.2d at 854.3 Here, Heim is a resident of Florida so the Court must look to
the circumstances of the disputed transaction to determine whether the ICFA applies.

         The determination of whether a disputed transaction occurs primarily and substantially in
Illinois is a fact-specific inquiry with no single dispositive factor. Crichton, 576 F.3d at 392.
Among the relevant factors are: “(i) plaintiff’s residence, (ii) where the deception occurred, (iii)
where the damage to plaintiff occurred, and (iv) whether plaintiff communicated with defendants
or its agents in Illinois.” IFC Credit Corp. v. Aliano Bros. Gen. Contractors, Inc., No. 04 C 6504,
2007 WL 164603, at *3 (N.D. Ill. Jan. 12, 2007) (citing Avery, 835 N.E.2d at 853–54.). The fact-
specific nature of the inquiry does not, however, prevent resolution at the pleadings stage when
warranted by the plaintiff’s own allegations. See Crichton, 576 F.3d at 396–97 (affirming the
district court’s dismissal of a ICFA claim where “the totality of the facts alleged” demonstrated
that the that the “alleged fraudulent activity did not occur ‘primarily and substantially in
Illinois’”). Here, Comcast contends that the disputed transaction did not take place in Illinois, as
Heim is a Florida resident and Comcast’s principal place of business is in Philadelphia,
Pennsylvania (FAC ¶¶ 4, 9, 19). At minimum, the FAC’s allegations establish that Heim lived and
suffered damages outside of Illinois. Moreover, Comcast is headquartered outside of Illinois and
the FAC alleges that it maintains a company-wide policy of requiring credit checks on all
customers. (FAC ¶ 15.)

        Illinois is only connected to this litigation because that is where the fraudulent account
was opened. But the opening of the fraudulent account is not the deceptive conduct at which
Heim’s ICFA claim is directed. Rather, her ICFA claim is directed at Comcast’s purportedly
deceptive practice of running credit checks on its customers to give the illusion that it takes
measures to prevent identity theft when opening new accounts. Put another way, Heim has sued
Comcast for its allegedly deceptive conduct in running credit checks; she has not sued the person
who opened the cable account for his or her fraud. By virtue of the fact that the fraudulent account
was opened in Chicago, it appears that Comcast’s agents in Chicago may have requested the
credit check in this instance. (See FAC, Ex. A at 4, Dkt. No. 41-1.) Nonetheless, this is the sole
fact tying Comcast’s allegedly deceptive business practice to Illinois, and it is not even alleged in
the FAC but rather inferred from an exhibit attached to it. And Heim does not allege that any
contacts she had with Comcast regarding the fraudulent account took place in Chicago. Instead,
she simply pleads that she contacted “Comcast’s fraud department to report the identity theft.”
(FAC ¶ 28.) The lack of detail regarding the location of Comcast’s fraud department, along with
the fact that Comcast’s headquarters are in Philadelphia, does not support an inference that
Heim’s contacts were with Comcast’s Chicago agents. But even accepting for present purposes
that those contacts were with agents in Chicago would not be sufficient to tip the balance.



3
 This is a matter of prudential, not constitutional, standing and therefore a non-jurisdictional issue
properly considered under the standard of Rule 12(b)(6). See Dunnet Bay Const. Co. v. Borggren, 799 F.3d
676, 689 (7th Cir. 2015).




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       Viewing those few allegations tying the ICFA claim to Illinois in the light most favorable
to Heim, the relevant conduct underlying the claim, at most, occurred as much in Illinois as it did
outside the state. That showing falls far short of pleading that the disputed transaction occurred
primarily and substantially in Illinois. Consequently, the ICFA does not apply to the transaction
here and Heim’s ICFA claim is dismissed.

                                                III.

        Finally, Comcast requests that this Court dismiss the FAC with prejudice. But normally,
“a plaintiff whose original complaint has been dismissed under Rule 12(b)(6) should be given at
least one opportunity to try to amend her complaint before the action is dismissed.” Chaidez v.
Ford Motor Co., 937 F.3d 998, 1007–08 (7th Cir. 2019). Because this is the first time this Court
has dismissed Heim’s claims, she will be given an opportunity to amend the complaint and
remedy the deficiencies identified herein. Consequently, the FAC is dismissed without prejudice.




Dated: June 1, 2020                                    __________________________
                                                       Andrea R. Wood
                                                       United States District Judge




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